_Case 2:05-cv-02300-.]PI\/|-STA Document 20 Filed 07/15/05 Page 1 of 3 Page|D 16

IN THE UNITED STATES DISTRICT COURT ay -.. p_c
FOR THE WESTERN DISTRICT OF TENNESSEE 05 JUL
WESTERN DIVISION ’ 5 P br 155
Roy Alinsub and Millicent Viva, ) a M: M,G{MD
on behalf of themselves and ) W/D%S _F 373€7€(191
all others Similarly Situated, ) l 1"‘5%'@
)
Plaintiffs, )
)
v. ) Case No. 05-2300 Ml An
)
T-MOBILE, and )
T-MOBILE USA, )
)
Defendants. )

P%P%E;ORDER APPROVING ADMISSION
PRO HAC VICE OF PETER KONTIO

IT APPEARING TO THE COURT that defendant’S Motion for Admission Pro
Hac Vice of Peter Kontio should be granted;

IT IS THEREFORE ORDERED that Peter Kontio is admitted Pro Hac Vfce for
the purpose of appearing on behalf of defendant T-Mobile USA, lno. in the above-
captionecl litigation

ENTERED this _1§ day ofJuly, 2005.

dow w

RABLE JON PHIPPS l\/ICCALLA
ED STATES DISTRICT JUDGE

 

515667_1 This document entered on the dockets se |n compliance `
with nule 5a and/or 79(3) FncP on 'l ;@

-Case 2:05-cv-O2300-.]PI\/|-STA Document 20 Filed 07/15/05 Page 2 of 3 Page|D 17

CERTIFICATE OF SERVICE

I hereby certify that l have served a copy of the foregoing on counsel of record by
causing a copy of same to be deposited in the United States Mail, postage prepaid, and
properly addressed as follows:

Christopher L. Brown
88 Union Avenue, Suite 1400
Memphis, Tennessee 38103

This Sth day of July, 2005. 9 %\ d( ! ’

Robert L. Crawfc&d

Wyatt Tarrant & ombs LLP
1715 Aaron Brenner Driver
Suite 800

Memphis, TN 38120-4367'

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 20 in
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July 18, 2005 to the parties listed.

ESSEE

 

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Honorable .l on McCalla
US DISTRICT COURT

